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Nik Home Care (Dey)

Date: 29 Shahrivar 1389 (Equivalent to 20 September 2010]
Record Number: 1074/Sh

It is kindly certified that Mr. Siamak Pourzand, by reason of his breathing

problems and kidney disorders, has, since the month of Bahman 1388
[January/February 2010], been under the care of the doctors and nurses of this

center, and it is the recommendation of the doctors that he needs 24-hour
nursing care. It should be noted that during his care by these doctors and
nurses, the deterioration of his health and his motor disorders was sufficient io
require his admission to the hospital. Our center, possessing specialist
physicians, nurses, and all necessary equipment, is officially licensed and fully
responsible for the aforementioned services.

With thanks,

Center Director

Dr. Seyyed Mohsen Shirvanian
fsignature of Dr. Shirvanian]
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(isd) ad J jae ys Glo ya

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